B L (Official Form 1) (1/08)

Case 09-14109-PJW Doci1 Filed 11/20/09 Page 1of19

 

United States Bankruptcy Court

DISTRICT OF DELAWARE

 
 

 

Name of Debtor (if individual, enter Last, First, Middle):
MES International, Inc.

Name of Joint Debtor (Spouse) (Last, First, Middle): N/A

 

All Other Names used by the Debtor in the last 8 years
(include married, maiden, and trade names}: NONE

All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names): N/A

 

Last four digits of Soc. Sec./or Individual-Taxpayer LD. (IFIN} No./Complete EIN
(if more than one, state all): XX-XXXXXXX

Last four digits of Soc. Sec./or Individual-Taxpayer LD. (TIN) No./Complete EIN (if
more than one, state all}: N/A

 

Street Address of Debtor (No. & Street, City, and State):

125 Middlesex Turnpike
Bedford, MA

ZIPCODE 01730 [ZIPCODE

Street Address of Joint Debtor (No. & Street, City, and State}: N/A

 

County of Residence or of the Principal Place of Business: Middlesex

County of Residence or of the Principal Place of Business: N/A

 

Mailing Address of Debter (if different from street address):

ZIP CODE ZIPCODE

Mailing Address of Joint Debtor (if different from street address): N/A

 

 

Location of Principal Assets of Business Debtor (if different from street address above):

ZIPCODE

 

Chapter of Bankruptcy Code Under Which
the Petition is Filed (Check one box.)

 

 

 

Type of Debtor : Nature of Business
(Form of Organization) (Check one box.)
(Check one box.)
OO Health Care Business
OO Individuat (includes Joint Debtors} C1 Single Asset Real Estate as defined in
See Exhibit D on page 2 of this fori. 11 U.S.C. § 101 (1B)
[EX] Corporation (includes LLC and LLP) C) Railroad
0 Partnership O Stockbroker
C1 Other (If debtor is not one of the above C Commodity Broker
entities, check this box and state type of | [1 Clearing Bank
entity below.) EJ Other
Tax-Exempt Entity
(Check box, if applicable.)
Title 26 of the United States Code (the
Internal Revenue Code}.

 

(1 Debtor is a tax-exempt organization under an individual primarily for a personal, family,

(4 Chapter 7 (1 Chapter 15 Petition for Recognition of a
oO Chapter 9 Foreign Main Proceeding
&J Chapter 11 () Chapter 15 Petition for Recognition of a
[J Chapter 12 Foreign Nonmain Proceeding
{1 Chapter 13
Nature of Debts
(Check one box.)
C1 Debts are primarily consumer debts, Debts are primarily business

defined in 11 U.S.C. § 101(8) as “incurred by —debis.

or household purpose.”

 

Filling Fee (Check one box.)
Ed Full Filing Fee attached

LJ Filing Fee to be paid in installments (Applicable to individuals only). Must attach signed

application for the court’s consideration certifying that the debtor is unable to pay fee exceptin | Check if:

installments. Rule 1006(b}. See Official Form 3A.

CA Filing Fee waiver requested (Applicable to Chapter 7 individuals only). Must attach signed

application for the court’s consideration. See Official Form 3B.

Chapter 11 Debtors
Check one box:
(2 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
EQ Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

(1 Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,190,000.

Check all applicable boxes:
CE Aplan is being filed with this petition.

CL Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C, § 1126(b),

 

 

Statistical/Administrative Information

Debtor estimates that funds will be available for distribution to unsecured creditors.
CL) Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for

distribution to unsecured creditors.

THIS SPACE 18 FOR COURT USE
ONLY

 

 

 

 

Estimated Number of i- 50- 100- 200- 1,000- 5,001- 10,001- 25,001- 50,001- Over
Creditors 49 99 199 999 §,000 10,006 25,000 50,000 100,000 160,000
be Cl A O O oO CI Oo Oo t
Estimated Assets
O O OH Oo Oo 0
$0 to $50,001 to $100,001 to $500,001 $1,000,001 $10,000,001 $50,000,001 $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000 to $1 million to $10 to $50 to $100 to $500 to $1 billion $1 billion
million million million million
Estimated Debts
OC Cl] x O
$0 to $50,001 to $100,001 to $560,001 $1,000,001 $10,000,001 $50,000,061 $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000 to $1 million to $10 to $50 to $100 to $500 to $1 billion = $1 billion
million million million million

 

 

 

 

 

 

 

 
B 1 (Official Form 1) (1/08) Case 09-14109-PJW Doc1 Filed 11/20/09 Page 2 of 19 Page 2

Voluntary Petition Name of Debtor(s): MES International, Inc.
(This page must be completed and filed in every case)

 

 

AIL Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.}

 

 

 

 

 

 

 

Location Case Number: Date Filed:
Where Filed: NONE
Location Case Number: Date Filed:
Where Filed:

Pending Bankruptey Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor: See attached Rider 1 Case Number: Date Filed:
District: Delaware Relationship: Judge:

Exhibit A Exhibit B

(To be completed if debtor is required to file periodic reports (¢.¢., forms (To be completed if debtor is an individual
16K and 10Q) with the Securities and Exchange Commission pursuant to whose debts are primarily consumer debts.)
Section 13 or 15(d) of the Securities Exchange Act of 1934 and is|J, the attorney for the petitioner named in the foregoing petition, declare that I have
requesting relief under chapter 11.) informed the petitioner that [her or she] may proceed under chapter 7, 11, 12, or 13 of

title 11, United States Code, and have explained the relief available under each such
chapter. 1 further certify that I delivered to the debtor the notice required by 11 U.S.C.
342(b).

X

 

ibit Ai hed and made a part of this petition.
C1 Exhibit A is attached and made a part of this petition Signature of Attomey for Debtor(s} Date

 

 

Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
[1] Yes, and Exhibit C is attached and made a part of this petition.
HX No

 

Exhibit D
{To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
(1 Exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:

(1 Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

 

Information Regarding the Debtor - Venue
(Check any applicable box.)

—} Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

(Cs There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

CJ Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this
District, or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a
federal or state court] in this District, or the interests of the parties will be served in regard to the relief sought in this District.

 

 

Certification by a Debtor Who Resides as a Tenant of Residential Property
(Check afl applicable boxes.)

(1 Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)

 

(Name of landlord that obtained judgment)

 

{Address of landlord)
Debtor claims that under applicable nonbankmuptcy law, there are circumstances under which the debtor would be permitted to
cure the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after
the filing of the petition.

Debtor certifies that he/she has served the Landlord with this certification (11 U.S.C. § 362(1)).

 

 

 

 

 
Case 09-14109-PJW Doci1 Filed 11/20/09 Page 3 of 19

 

B 1 (Official Form 1) (1/08)

Page 3

 

Voluntary Petition
(This page must be completed and filed in every case)

Name of Debtors(s): MES International, Inc.

 

Signatures

 

Signature(s) of Debtor(s) (Individual/Joint)

I declare under penalty of perjury that the information provided in this
petition is true and correct.

iIf petitioner is an individual whose debts are primarily consumer debts and
has chosen to file under chapter 7] [ am aware that I may proceed under
chapter 7, 11, 12 or 13 of title 11, United States Code, understand the relief
availabie under each such chapter, and choose to proceed under chapter 7.

[If no attorney represents me and no bankruptcy petition preparer signs the
petition] I have obtained and read the notice required by 11 U.S. C. § 342(b).

I request relief in accordance with the chapter of title 11, United States Code,
specified in this petition.

xX
Signature of Debtor

xX
Signature of Joint Debtor

 

 

 

Telephone Number (if not represented by attorney)

 

Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this
petition is true and correct, that 1 am the foreign represeniative of a debtor in a
foreign proceeding, and that | am authorized to file this petition.

(Check only one box.)

CJ I request retief in accordance with chapter 15 of title 11, United States
Code. Certified copies of the documents required by 11 U.S.C. § 1515
are attached,

C1 Pursuant to 11 U.S.C. § 1511, E request relief in accordance with the
chapter of title 11 specified in this petition. A certified copy of the
order granting recognition of the foreign main proceeding is attached.

xX
(Signature of Foreign Representative)

 

 

(Printed Name of Foreign Representative}

 

 

 

Signature of Attorney for Debtor (s}

MARK MINUTL ESQUIRE (Bar No. 2659)
Printed Name of Attorney for Debtor(s)
SAUL EWING LLP

Firm Name

222 DELAWARE AVENUE, SUITE 1200
Address

WILMINGTON, DE 19899

(302) 421-6846
Telephone Number
eand-
WILLIAM R. BALDIGA, ESQUIRE (BBQ #542125)
Printed Name of Attorney for Debtor(s}
BROWN RUDNICK LLP
Firm Name
ONE FINANCIAL CENTER
Address
BOSTON, MA 02111

(617) 856-8586
Telephone Number
November 20, 2009
Date

* Tn a case in which § 707(6)(4\(D) applies, this signature also constitutes a
certification that the attorney ahs no knowledge after an inquiry that the
information in the schedules is incorrect.

 

Signature of Debtor (Corporation/Partnership)

1 declare under penalty of perjury that the information provided in this
petition is true and correct, and that I have been authorized to file this petition
on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 11, United

States Code, specified in e pgtition.
x 9. HAOs Am
Signature of Authorized Individual

SERGIO EDELSTEIN

Printed Name of Authorized Individual
PRESIDENT & CHIEF EXECUTIVE GFFICER
Title of Authorized Individual

November 20, 2009

Date

 

 

Date
Date
of Attorney* Signature of Non-Attorney Bankruptcy Petition Preparer
Xx I deciare under penalty of perjury that: (1)1 am a bankruptcy petition

preparer as defined in 12 U.S.C. § 110; (2)1 prepared this document for
compensation and have provided the debtor with a copy of this document and
the notices and information required under 11 U.S.C. §§ 110(b), 110¢h), and
342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11
U.S.C. § 110i) setting a maximum fee for services chargeable by bankruptcy
petition preparers, F have given the debtor notice of the maximum amount
before preparing any document for filing for a debtor or accepting any fee
from the debtor, as required in that section. Official Form 19 is attached.

 

Printed Name and title, ifany, of Bankruptcy Petition Preparer

 

Social Security number (If the bankruptcy petition preparer is not an
individual, state the Social Security number of the officer, principal,
responsible person or partner of the bankruptcy petition preparer.) (Required
by 11 U.S.C. § 110.)

 

Address

 

 

 

Date
Signature of bankruptcy petition preparer or officer, principal, responsible
person, or partner whose Social Security number is provided above.

Names and Social Security numbers of all other individuals who prepared or
assisted in preparing this document unless the bankruptcy petition preparer is
not an individual.

If more than one person prepared this document, attach additional sheets
conforming to the appropriate official form for each person.

A bankruptcy petition preparer’s failure to comply with the provisions of
ttle I] and the Federal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both LI USC. § 110; 18 U.S.C. $ 156.

 

1707660

 

 
Case 09-14109-PJW Doci Filed 11/20/09 Page 4 of 19

RIDER 1

Pending Bankruptcy Cases Filed by Affiliates of the Debtor:
Each Concurrently Filed in the United States Bankruptcy Court
For the District of Delaware

On the date of this petition, each of the affiliated entities listed below (including
the debtor in this chapter 11 case) filed in this Court a voluntary petition for relief under
chapter 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101- 1532.
Contemporaneously with the filing of their petitions, such entities filed a motion
requesting joint administration of their chapter 11 cases.

1, MES International, Inc.’
2. GSI Group Corporation

3. GSI Group Inc.

# 1708684 v1

 

"MES International, Inc. was the first of these affiliates to commence its chapter 11 case.

 
Case 09-14109-PJW Doc1 Filed 11/20/09 Page 5of 19

MES INTERNATIONAL, INC.

Written Consent in Lieu of
Meeting of the Board of Directors

The undersigned, being the board of directors (the “Board”) of MES International, Inc., a
Delaware corporation (the “Company”), do hereby consent, pursuant to Section 141(f) of the
Delaware General Corporation Law, to the adoption of the following resolutions with the same
force and effect as if duly adopted at a special meeting of the Board called for the purpose:

WHEREAS, GSI Group Inc. (“GSI”), a company continued under the laws of New
Brunswick and the ultimate parent company of the Company, and certain holders of notes in
May 2009 reached agreement on a non-binding term sheet (the “Term Sheet”) to restructure
GSI’s and certain of its subsidiaries’ outstanding obligations under such 11% Senior Notes
(the “Notes”) issued by GSI Group Corporation, a Michigan corporation and wholly-owned
subsidiary of GSI (“GSI_Group”) and guaranteed by GSI and certain of its subsidiaries,
including the Company (the “Reorganization”); and

WHEREAS, in the judgment of the Board and to consummate the Reorganization, it is
desirable and in the best interests of the Company to, jointly with GSI and GSI Group, file a
voluntary petition (the “Petition”) for relief under chapter 11 of the United States Bankruptcy
Code, 11 U.S.C, §§ 101-1532 (the “Bankruptcy Code”), and the Board wishes to approve
such action.

Voluntary Petition for Relief under Chapter 11

NOW, THEREFORE, BE IT RESOLVED, that, in the judgment of the Board, it is
desirable and in the best interests of the Company that the Company shall be, and the Company
hereby is, authorized to file the Petition in the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”) and thereby commence chapter 11 proceedings for the

Company (the “Chapter 11 Case”).

RESOLVED, that the President and Chief Executive Officer of the Company (the
“Authorized Officer”), shall be and hereby is, authorized, directed and empowered, in the name
of and on behaif of the Company, to execute and file on behalf of the Company all petitions,
schedules, lists and other motions, papers or documents, and to take any and all actions that they
deem necessary or proper to obtain appropriate relief including, without limitation, any action
necessary to maintain the ordinary course operation of the Company’s business.

RESOLVED, that the Authorized Officer be and hereby is authorized to employ the law
firm of Brown Rudnick LLP as general bankruptcy counsel to represent and assist the Company
in carrying out its duties under the Bankruptcy Code and to take any and all actions to advance
the Company’s rights and obligations, including filing any pleadings; and, in connection
therewith, the Authorized Officer is hereby authorized to execute appropriate retention
agreements, pay appropriate retainers prior to filing of the Chapter 11 Case and cause to be filed
an appropriate application for authority to retain the services of Brown Rudnick LLP.

 
Case 09-14109-PJW Doci1 Filed 11/20/09 Page 6 of 19

RESOLVED, that the Authorized Officer be and hereby is authorized to employ the law
firm of Saul Ewing LLP as Delaware bankruptcy counsel to represent and assist the Company in
carrying out its duties under the Bankruptcy Code and to take any and all actions to advance the
Company’s rights and obligations, including filing any pleadings; and, in connection therewith,
the Authorized Officers are hereby authorized to execute appropriate retention agreements, pay
appropriate retainers prior to filing of the Chapter 11 Case, and cause to be filed an appropriate
application for authority to retain the services of Saul Ewing LLP.

RESOLVED, to confirm the continued retention of Wilson, Sonsini Goodrich & Rosati
Professional Corporation as general corporate counsel for the Company; and, in connection
therewith, that the Authorized Officer be and hereby is authorized to execute appropriate
retention agreements, pay appropriate retainers prior to filing of the Chapter 11 Case, and cause
to be filed an appropriate application for authority to retain the services of Wilson, Sonsini
Goodrich & Rosati Professional Corporation.

RESOLVED, that the Authorized Officer be and hereby is authorized to employ
appropriate advisors (including without limitation LaBarge Weinstein Professional Corporation,
Stewart McKelvey, The Garden City Group, Inc., Kekst and Company Incorporated and CRG
Partners) (collectively, the “Advisors”) to represent and assist the Company in connection with
the Reorganization; and, in connection therewith, the Authorized Officer is hereby authorized to
execute appropriate retention agreements, pay appropriate retainers prior to filing of the Chapter
11 Case and cause to be filed an appropriate application for authority to retain the services of the
Advisors.

Plan Support Agreement

RESOLVED, that the Authorized Officer shall be and hereby is authorized, directed and
empowered in the name of and on behalf of the Company to negotiate, execute and deliver a Plan
Support Agreement on terms substantially in the form presented to the Board (the “Plan Support
Agreement”) by and among GSI, GSI Group, the Company, The Bank of New York Mellon
Trust Company, N.A., solely in its capacity as Trustee (the “Trustee”) to the Noteholders, and
each of the Consenting Noteholders (as defined therein), with such additions and modifications
as such Authorized Officer, in his sole discretion, may deem necessary or appropriate and in the
best interest of the Company, the execution and delivery thereof to be conclusive evidence of
such Authorized Officer’s approval thereof and authority thereunder.

Plan of Reorganization Under Chapter 11 and Actions Contemplated Therein

WHEREAS, the Company in connection with the Petition, is proposing to execute and
cause to be filed with the Bankruptcy Court a Joint Plan of Reorganization pursuant to Chapter
11 of the Bankruptcy Code and accompanying disclosure statement (together, the “Plan”); and

WHEREAS, the Plan, as provided in the Term Sheet, contemplates that 12.25% Senior
Secured PIK Election Notes (“PIK Notes”) in an aggregate amount of $104,100,000 be issued by
GSI Group and guaranteed by GSI and certain of its subsidiaries, and that such PIK Notes be

 
Case 09-14109-PJW Doci1 Filed 11/20/09 Page 7 of 19

governed by an Indenture to be filed with Bankruptcy Court as a Plan document (“Indenture”).

NOW, THEREFORE, BE IT RESOLVED, that the Company hereby adopt and approve
in all respects the Plan substantially in the form this date presented to the Board; and that the
Authorized Officer shall be and hereby is authorized, directed and empowered, in the name of
and on behalf of the Company, to negotiate, execute, verify and cause to be filed with the
Bankruptcy Court the Plan with such additions and modifications thereto as such Authorized
Officer in his sole discretion, may deem necessary or appropriate, and in the best interest of the
Company, the execution and filing thereof to be conclusive evidence of such Authorized
Officer’s approval thereof and authority thereunder.

RESOLVED, that the Company hereby adopt and approve in all respects the Indenture
substantially in the form this date presented to the Board; and that the Authorized Officer shall
be and hereby is authorized in the name and on behalf of the Company to negotiate, file with the
Bankruptcy Court, execute and deliver the Indenture, with such additions and modifications as
such Authorized Officer in his sole discretion, may deem necessary or appropriate, and in the
best interest of the Company, the filing, execution and delivery thereof to be conclusive evidence
of such Authorized Officer’s approval thereof and authority thereunder.

Certificate of Amendment to Articles of Incorporation

WHEREAS, the Company once the Petition is approved by the Bankruptcy Court, is
proposing to execute and cause to be filed with the Delaware Secretary of State’s Office (the
“Delaware Secretary”) a Certificate of Amendment to the Certificate of Incorporation, which
adds certain language as required by Section 1123(a)(6) of the Bankruptcy Code (the “Certificate
of Amendment”).

NOW, THEREFORE, BE IT RESOLVED, that the Company hereby adopt and approve
in all respects the Certificate of Amendment substantially in the form this date presented to the
Board.

RESOLVED, that the Authorized Officer shall be and hereby is authorized, directed and
empowered, in the name of and on behalf of the Company, to execute, verify and cause to be
filed with the Delaware Secretary the Certificate of Amendment with such additions and
modifications thereto as such Authorized Officer in his sole discretion, may deem necessary or
appropriate, and in the best interest of the Company, the execution and filing thereof to be
conclusive evidence of such Authorized Officer’s approval thereof and authority thereunder.

General

NOW, THEREFORE, BE IT RESOLVED, that the Authorized Officer shall be and
hereby is authorized, directed and empowered, in the name of and on behalf of the Company, (i)
to take or cause to be taken any and all actions, (ii) to make or cause to be made all payments
(including but not limited to payments of expenses, retainers and filing fees), (iii) to make or
cause to be made all federal, state and local governmental, administrative and/or regulatory
filings as may be required or advisable under the laws or regulations of any jurisdiction, and (iv)

 

 
Case 09-14109-PJW Doci1 Filed 11/20/09 Page 8 of 19

to negotiate, enter into, execute, deliver and perform all other documents, agreements,
certificates or instruments as may be necessary, appropriate, convenient or proper, in each case

to effectuate the intent of, and the transactions contemplated by, the foregoing resolutions, and

the execution and delivery thereof by such Authorized Officer to be conclusive evidence of such
approval.

RESOLVED, that the Authorized Officer shall be and hereby is authorized, directed and
empowered to cause the Company and such of its affiliates as management deems appropriate to
enter into, execute, deliver, certify, file, record, and perform such agreements, instruments,
motions, affidavits, applications for approvals or rulings of governmental or regulatory
authorities, certificates or other documents, and to take such other actions, as in the judgment of
such Authorized Officer shall be necessary, proper, and desirable to prosecute to a successful
completion the Chapter 11 Cases and to carry out and put into effect the purposes of the
foregoing resolutions, and the transactions contemplated by these resolutions, their authority
thereunto to be evidenced by the taking of such actions.

RESOLVED, that notwithstanding anything contrary in the foregoing resolutions, in the
event that any action to be taken by the Authorized Officer in furtherance of the foregoing
resolutions is anticipated by such Authorized Officer to adversely affect, or if the Company is
advised by its counsel that such action is reasonably likely to adversely affect, the interests of the
Company in favor of the interests of any of the Company’s Affiliates (as such term is defined in
section 101(2) of the Bankruptcy Code), the Authorized Officer shall have no authority to take
such action unless approved by the Board.

RESOLVED, that any and all acts taken and any and all certificates, instruments,
agreements or other documents executed on behalf of the Company by the Authorized Officer
prior to the adoption of the foregoing resolutions with regard to any of the transactions, actions,
certificates, instruments, agreements or other documents authorized or approved by the foregoing
resolutions be, and they hereby are, ratified, confirmed adopted and approved.

[REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]

 
Case 09-14109-PJW Doci1 Filed 11/20/09 Page 9 of 19

Executed, effective as of the date set forth below.

Dated: November 18, 2009

5. FdebsTern

 

Sergio Edelstein

 

 

#1702773 v1

 
Case 09-14109-PJW Doci1 Filed 11/20/09 Page 10 of 19

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

 

 

In re:

MES INTERNATIONAL, INC.,'
Debtor.

In re:

GSI GROUP INC.,
Debtor.

In re:

GSI GROUP CORPORATION,
Debtor.

 

Nene Nn Naeger me” cme et ne” Siem” See eee” Sie” ieee “ieee” Mee” nema” Meme” Set” inet” Nine”

Chapter 11

Case No.

Chapter 11

Case No.

Chapter 11
Case No.

Joint Administration Requested

CONSOLIDATED LIST OF THIRTY CREDITORS
HOLDING LARGEST UNSECURED CLAIMS

Set forth below is a list of creditors holding the thirty (30) largest unsecured claims
against MES International, Inc., GS] Group Inc. and GSI Group Corporation (collectively, the
“Debtors”) as of November 20, 2009. The list has been prepared from the books and records of

the Debtors.

The list is prepared in accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter
11 case. The list does not include (1) persons who come within the definition of “insider” set
forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of the collateral is such that the
unsecured deficiency places the creditor among the holders of the 20 largest unsecured claims.
Inclusion of a claim on the attached consolidated list is not an admission that the amounts listed
are undisputed, fixed and liquidated nor an admission that the amounts are owed by more than

one of the Debtors.

 

1

The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: MES

International, Inc. (1964); GSI Group Inc. (0412); and GSI Group Corporation (9358). The Debtors’
headquarters is located at 125 Middlesex Turnpike, Bedford, MA 01730.

 
Case 09-14109-PJW Doci1 Filed 11/20/09 Page 11 of 19

 

Name of creditor and complete
mailing address including zip
code

Nature of claim [trade
debt, bank loan,
government contract,
etc.]

Indicate if claim is
contingent,
unliquidated,
disputed or subject to
setoff

Amount of claim [if
secured also state
value of security]

 

The Bank of New York Mellon
Trust Company, N.A.

222 Berkeley Street, 2™! Floor
Boston, MA 02116

Attn: Vaneta I. Bernard, VP
Tel.: (617) 536-3292

Fax: (617) 351-2401

Indenture Trustee

$210,000,000.00

 

Liberty Harbor Master Fund I, L.P.

1 New York Plaza
New York, NY 10004
Tel: (212) 855-9624
Fax: (212) 428-3889

Noteholder

$70,000,000.00

 

Tinicum Capital Partners II, L.P.
One Maritime Plaza, Suite 1650
San Francisco, CA 94111

Noteholder

$50,000,000.00

 

Highbridge International LLC
9 West 57 Street, 27" Floor
New York, NY 10019

Tel.: (212} 287-4900

Fax: (212) 287-4915

Noteholder

$47,500,000.00

 

Tennenbaum Opportunities
Partners V, LF

2951 28" Street, Suite 1000
Santa Monica, CA 90405
Tel: (310) 566-1000

Fax: (310) 899-4950

Noteholder

$20,743,000.00

 

Special Value Opportunities Fund,
LLC

c/o Tennenbaum Capital Partners,
LLC

2951 28" Street, Suite 1000

Santa Monica, CA 90405

Tel.: (310) 566-1000
Fax: (310) 899-4950

 

Noteholder

 

 

$13,347,000.00

 

 

 

 
Case 09-14109-PJW Doci1 Filed 11/20/09 Page 12 of 19

 

Name of creditor and complete
mailing address including zip
code

Nature of claim [trade
debt, bank loan,
government contract,
etc. |

Indicate if claim is
contingent,
unliquidated,
disputed or subject to
setoff

Amount of claim [if
secured also state
value of security]

 

Special Value Continuation
Partners, L.P.

c/o Tennenbaum Capital Partners,
LLC

2951 28" Street, Suite 1000
Santa Monica, CA 90405

Tel.: (310) 566-1000

Fax: (310) 899-4950

Noteholder

$7,778,000.00

 

Special Value Expansion Fund,
LLC

c/o Tennenbaum Capital Partners,
LLC

2951 28" Street, Suite 1000
Santa Monica, CA 90405

Tel.: (310) 566-1060

Fax: (310) 899-4950

Noteholder

$5,632,000.00

 

Hale Capital Partners, LP

570 Lexington Avenue, 49" Floor
New York, NY 10022

Tel.: (212) 751-8800

Fax: (212) 751-8822

Noteholder

$5,000,000.00

 

Softchoice Corporation
1400 Hancock Street
Quincy, MA 01269
Tel.: (888) 549-7638
Fax: (888) 549-7639

Trade Debt

Disputed

$151,303.00

 

EPIQ EDiscovery Solutions
90 Park Avenue, 8" Floor
New York, NY 10017

Tel.: (212) 225-9200

Fax: (212) 225-9201

Professional Services

Disputed

$111,484.00

 

 

Revolution Partners
Heritage on the Garden
75 Park Plaza

Boston, MA 02116
Tel.: (617} 375-4219

 

Professional Services

 

 

$100,558.00

 

 

 

 
Case 09-14109-PJW Doci1 Filed 11/20/09 Page 13 of 19

 

Name of creditor and complete
mailing address including zip
code

Nature of claim [trade
debt, bank loan,
government contract,
etc.]

Indicate if claim is
contingent,
unliquidated,
disputed or subject to
setoff

Amount of claim [if
secured also state
value of security]

 

Shanghai GES Information
Technology Co., Ltd

NO. 668 Li Shi Zhen Rd
Shanghai Zangjiang Hi-Tech Park
Shanghai

China

201203

Trade Debt

$54,299.00

 

Lorom Industrial Co. Ltd.
6380 Flank Drive, Suite 300
Harrisburg, PA 17112

Trade Debt

$41,662.00

 

Pyrophotonics Lasers Inc.
275 Kesmark
Dollard-des-Ormeaux
Quebec, H9B 3JI

Tel.: (514) 904-9000

Fax: (514) 684-0400

Trade Debt

$41,000.00

 

NStar

P.O. Box 4508

Woburn, MA 01888-4508
Tel: (800) 340-9822

Utility

$36,527.00

 

Timken Super Precision
Department AT40127
Atlanta, GA 31192-0127
Tel.: (603) 355-4593
Fax: (603) 355-4555

Trade Debt

529,383.00

 

GES US (New England) Inc.
790 Chelmsford Street
Lowell, MA 01851

Tel.: (978) 459-4434

Fax: (978) 459-9925

Trade Debt

$28,191.00

 

 

ABA-PGT/Plastics Gearing Tech
10 Gear Drive

‘| P.O. Box 8270

Manchester, CT 06042
Tel.: (860) 649-4591
Fax: (860) 643-7619

 

Trade Debt

 

 

$28,047.00

 

 

 

 

 
Case 09-14109-PJW Doci1 Filed 11/20/09 Page 14 of 19

 

Name of creditor and complete
mailing address including zip
code

Nature of claim [trade
debt, bank loan,
government contract,
etc.]

Indicate if claim is
contingent,
unliquidated,
disputed or subject to
setoff

Amount of claim [if
secured also state
value of security]

 

Nippon Pulse America Inc.
4 Corporate Drive
Radford, VA 24141

Tel.: (540) 633-1677

Fax: (540) 633-1674

Trade Debt

$25,790.00

 

JDS Uniphase

2789 Northpoint Parkway
Santa Rosa, CA 95407
Tel.: (800) 498-5378

Trade Debt

$20,815.00

 

Proto-Pac Engineering Co., Inc,
299 Ballardvale Street
Wilmington, MA 01887

Tel.: (978) 520-0100

Fax: (978) 520-0101

Trade Debt

$20,697.00

 

SMT Mechatronics SON BHD
PTD 37442, Jalan Perindustrian 3
Kawasan Perindustrian Senai Fasa
II

81400 Senai

MY

Trade Debt

Disputed

$20,196.00

 

125 Middiesex Turnpike LLC
205 Newbury Street
Framingham, MA 01701
Tel.: (508) 739-1234

Fax: (508) 739-1235

Landlord

$20,146.00

 

Metro Circuits

205 LaGrange Avenue
Rochester, NY 14613
Tel.: (585) 254-2980
Fax: (585) 254-4614

Trade Debt

$19,224.00

 

 

Wyatt International Limited
Wyatt Housse

72 Francis Road

Edgbaston

Birmingham B16 8SP
Great Britain

Tel.: 44-121-454-8181

 

Trade Debt

 

Disputed

 

$17,432.00

 

 

 

 

 
Case 09-14109-PJW Doci1 Filed 11/20/09 Page 15 of 19

 

Name of creditor and complete
mailing address including zip
code

Nature of claim [trade
debt, bank loan,
government contract,
cic.]

Indicate if claim is
contingent,
unliquidated,
disputed or subject to
setoff

Amount of claim [if
secured also state
value of security]

 

Wiltold Trzeciakowski,
Individually and on behalf of all
others similarly situated

David Pastor

Gilman and Pastor, LLP

63 Atlantic Avenue, 3" Floor
Boston, MA 02110

Tel.: (617) 742-9700

Fax: (617) 742-9701

Litigation Party

Contingent/
Unliquidated/Disputed

Unknown

 

Aeroflex Colorado Springs, Inc.
4350 Centennial Boulevard
Colorado Springs, CO 80907
Tel,: (719) 594-8000

Subcontractor

Unliquidated

Unknown

 

Silver Oak Capital, L.L.C.

c/o The Bank of New York Mellon
Trust Company, N.A.

222 Berkeley Street, 2 Floor
Boston, MA 02116

Attn: Vaneta I. Bernard

Tel.: (617) 536-3292

Fax: (617) 351-2401

Noteholder

Unknown

 

 

UBS O’Connor LLC

c/o The Bank of New York Mellon
Trust Company, N.A.

222 Berkeley Street, 2™ Floor
Boston, MA 02116

Attn: Vaneta I Bernard

Tel.: (617) 536-3292

Fax: (617) 351-2401

 

Noteholder

 

 

Unknown

 

 

 

 

 
Case 09-14109-PJW Doci1 Filed 11/20/09 Page 16 of 19

DECLARATION UNDER PENALTY OF PERJURY.ON BEHALF OF DEBTORS

 

1, Sergio Hdeistein, President and Chief Executive Officerof MES International, Inc.,
GSt Group Inc. and GSE Group Corporation, declare under penalty of perjury that I have- read the
Consolidated List of Creditors Holding the 30‘Largest Wasecuréd Claims submitted herewith and
that it js true-and correct to the best of nix information and belief.

Dated: November 20, 2609

S. del stern

‘Sergia Edelstein

President and Chief Executive Officer of MES
Taternational, Ine., GSI Group Inc.and GSE Group.
‘Corporation.

#7 ORESi
Case 09-14109-PJW Doci1 Filed 11/20/09 Page 17 of 19

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

 

 

In re: )
)
MES INTERNATIONAL, INC.,' ) Chapter I
)
Debtor. ) Case No.
)
)
In re: Chapter 11
GSI GROUP INC., ) Case No
) .
Debtor. )
)
In re: Chapter 11
GSI GROUP CORPORATION, ) Case No
J .
Debtor. Joint Administration Requested

 

CORPORATE OWNERSHIP STATEMENT
In accordance with Rules 1007(a)(1) of the Federal Rules of Bankruptcy Procedure, MES
International, Inc. (the “Debtor”) hereby states that each of the following persons or entities

directly or indirectly own 10% or more of the equity interests of the Debtor:

Name and Address Ownership Percentage
MicroE Systems Corp. 100%

The following is a list of any corporation whose securities are publicly traded in which

the Debtor directly or indirectly owns 10% or more of any class of the corporation’s equity

 

1 The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: MES
International, Inc. (1964); GSI Group Inc. (0412); and GSI Group Corporation (9358). The Debtors’ headquarters is
located at 125 Middlesex Turnpike, Bedford, MA 01730.

586897.1 11/19/09
Case 09-14109-PJW Doci1 Filed 11/20/09 Page 18 of 19

interests, and any general or limited partnership or joint venture in which the Debtor owns an

interest:
Name and Address Ownership Percentage
None N/A

586897.1 11/19/09 2
Case 09-14109-PJW Doci1 Filed 11/20/09 Page 19 of 19

DECLARATION REGARDING CORPORATE OWNERSHIP STATEMENT

I, Sergio Edelstein, President and Chief Executive Officer of MES International, Inc., a
corporation organized under the laws of the State of Delaware, declare under penalty of perjury
under the laws of the United States of America that I have read the foregoing Corporate

Ownership Statement and that it is true and correct to the best of my information and belief.

Dated: November 20, 2009 S ; & { | p sv. A AA

Bedford, Massachusetts

 

Sergio Edelstein

#1708314

 
